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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
      v.                              )       CRIMINAL CASE NO.
                                      )       1:21-CR-00346-BAH-1
GLEN MITCHELL SIMON                   )

                    NOTICE OF FILING LEAVE OF ABSENCE

      Rebecca Shepard of the Federal Defender Program, Inc. herein files this notice

of filing leave of absence. I will be out of the office November 22-26, 2021 and

December 2-3, 2021, and respectfully requests that the Court not schedule any court

appearances for those dates.

      Dated: This 15th day of July, 2021.

                                      Respectfully Submitted,

                                      /s/ Rebecca Shepard
                                      Rebecca Shepard
                                      Georgia Bar No. 780692
                                      Attorney for Mr. Simon

Federal Defender Program, Inc.
Centennial Tower, Suite 1500
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Atlanta, Georgia 30303
(404) 688-7530; Fax (404) 688-0768
Rebecca_Shepard@fd.org




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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Notice of Filing Leave of Absence has been

formatted in Times New Roman 14 pt., in accordance with Local Rule 5.1B, and

was electronically filed this day with the Clerk of Court using the CM/ECF system

which will automatically send email notification of such filing to the following

counsel of record:

                         Amy Larson, Esq.
                         Laura Hill, Esq.
                         Assistant United States Attorney
                         555 4th Street, NW
                         Washington, DC 20530

      Dated: This 15th day of July, 2021.



                                      /s/ Rebecca Shepard
                                      Rebecca Shepard
                                      Attorney for Mr. Simon


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